Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 1 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of
herself and all others similarly situated,

Plaintiff, Civil Action No. 1:21-cv-10759-LTS
vs.

WHEELABRATOR SAUGUS, INC.,

Defendant,

Newer Se” Nome” Nn Tee Smee” eet” ee”

DECLARATION
Pursuant to 28 U.S.C. § 1746 I declare and say:

1, My name is I , and I live at G ;
approximately / ye _tmiles from the Wheelabrator Saugus waste-to-energy facility.
I_own / rent my home and have lived at this address for about Ld years.

2. Ido not ever notice noxious odors at my home.

3. I do not ever notice unusual or unnatural amounts of dust or ash on my property.

4. I enjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. Ido not think odors, dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true and correct.

  

Executed on: A Z hi Zz Signed;

***T understand “ogre that: (1) I am signing this voluntarily and I will not suffer any
consequence if I decide not to sign it; (2) I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, I was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 2 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of )
herself and all others similarly situated, }
)

Plaintiff, } Civil Action No. 1:21-cv-10759-LTS
)
VS. )
)
WHEELABRATOR SAUGUS, INC., )
)
Defendant. )

DECLARATION

Pursuant to 28 U.S.C. § 1746 I declare and say:

\anO0
1. My name is Aint hong COG a Live at. Se

approximately _ }- 6 mileg from the Wheelabrator Saugus waste-to-energy facility.

 

I _/ rent__ my home and have lived at this address for about _ 3 ( years.

2. I donot ever notice noxious odors at my home.

3. Ido not ever notice unusual or unnatural amounts of dust or ash on my property.

4. I enjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. Ido not think odors, dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true an

Executed on: - / Uy Signed:

 

**47 understand E agree that: (1) I am signing this volunt and I will not suffer any
consequence if I decide not to sign it; (2) I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, I was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 3 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of )
herself and all others similarly situated, )
}

Plaintiff, ) Civil Action No. 1:21-cv-10759-LTS
)
VS. )
)
WHEELABRATOR SAUGUS. INC.. )
)
Defendant. )

DECLARATION
Pursuant to 28 U.S.C. § 1746 I declare and sav:
1. My name is $Tephen Basile andl liveat 4 Seting Wag, Sams, me,
approximately b fu miles from the Wheelabrator Saugus waste-to-energy facility.

| 64) {rent my home and have lived at this address for about 13 __ years.

1 do not ever notice noxious odors at my home.

i

[do not ever notice unusual or unnatural amounts of dust or ash on my property,

fae

4. [enjoy numerous activitics outside at my property, and neither odors. dust nor ash has
affected my outdoor activities in any way.
5. I do not think odors, dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true and correct.

  
  

Executed ¢ Signed: uy (

***T underst@id and agree that: (1) | am signing this voluntarily and 1 will not suffer any
consequence if I decide not to sign it; (2) I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that [ may be a member of the
proposed class; (3) 1 am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action: and (4) before signing. I was
informed that [ have the right to contact plaintiff's counsel in the pending lawsuit. Liddle Sheets
Coulson P.C.***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 4 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of
herself and all others similarly situated.

)
)
)
Plaintiff. ) Civil Action No. 1:21-cv-10759-L.TS
)
Vs. )
)
WHEELABRATOR SAUGUS. INC.. )
)
Defendant. )
DECLARATION
Pursuant to 28 U.S.C. § 1746 ] declare and say:
1. My name ts oun, af J .and {I live at Jo bt by.
approximately ( miles from the Wheelabrator Saugus waste-to-energy facility.

I (ov)! rent__ my home and have lived at this address for about AO years.

I do not ever notice noxious odors at my home.

Bo

1 do not ever notice unusual or unnatural amounts of dust or ash on my property.

a

4. [| enjoy numerous activities outside at my property. and neither odors. dust nor ash has
affected my outdoor activities in any way.

I do not think odors, dust or ash have affected my property value.

Ma

6. | declare under penalty of perjury that the foregoing is true and correct.

Executed on: #6 —22 Signed:

***} understand and agree that: (1) 1 am signing this taityband T will not suffer any
consequence if] decide not to sign it; (2) | have been infopfied that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) | am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action: and (4) before signing. [ was
informed that | have the right to contact plaintiff's counsel in the pending lawsuit. Liddle Sheets
Coulson P.C.***

 
   
    

 

 

L
“F
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 5 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of
herself and all others similarly situated,

Plaintiff, Civil Action No. 1:21-cv-10759-LTS

VS.

WHEELABRATOR SAUGUS, INC.,,

Nam me ee ee nee ener met” ee” See”

Defendant.
DECLARATION

Pursuant to 28 U.S.C. § 1746 I declare and say:

1. Myname is S@C7EP 1H DENMS GOd/and Iliveat_ G SERINO WAY
approximately VYa_ miles from the Wheelabrator Saugus waste-to-energy facility.
I Cownt /_rent__ my home and have lived at this address for about FO years.

2. I donot ever notice noxious odors at my home.

3. Ido not ever notice unusual or unnatural amounts of dust or ash on my property.

4. I enjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. Ido not think odors, dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true and correct.

Executed on: Sy VU Ne Tq) 22 see dah yom Naf

***T understand and agree that: (1) I am signing this voluntarily and I will not suffer any
consequence if I decide not to sign it; (2) I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, I was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C,***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 6 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND. on behalf of )
herself and all others similarly situated. )
)

Plaintiff. ) Civil Action No. 1:2]-cv-10759-LTS
)
Vs. )
)
WHEELABRATOR SAUGUS. INC.. )
)
Defendant. )

DECLARATION

Pursuant to 2§ U.S.C. § 17461 declare and say:

on Mrz. 0 _and I live at A Serine Weed Sous}

 

i. My name is

approximately miles from the Wheelabrator Saugus waste-to-energy facility.

I fo) /_ rent my home and have lived at this address for about __ “& years.

bo

[ do noi ever notice noxious odors at my home.

I do not ever notice unusual or unnatural amounts of dust or ash on my property,

a

4. T enjoy numerous activities outside at my property. and neither odors, dust nor ash has
affected my outdoor activities in any way.

I do not think odors, dust or ash have affected my property value.

an

6. I declare under penalty of perjury that the foregoing is true and correct.

Executed on: ly oe LIOp9—_ Sign

***T understand and agree that: (1) I am signing this voluntarily and | will not suffer any
consequence if | decide not to sign it; (2) [ have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that | may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing. I was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***

  
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 7 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of )
herself and ali others similarly situated. }
)

Plaintiff, ) Civil Action No, 1:21-cv-10759-LTS
)
VS. )
)
WHEELABRATOR SAUGUS. INC.. )
)
Detendant. )

DECLARATION

Pursuant to 28 U.S.C. § 1746 I declare and savy:

|. My name is Richa Maro -and I live at Tg Ce Dh rey V

a ig @2IUS, My
approximately f mules from the Wheelabrator Saugus waste-to-energy facility, |

1__own / rent my home and have lived at this address for about ) years.

bo

I do not ever notice noxious odors at my home.

| do not ever notice unusual or unnatural amounts of dust or ash on my property.

los

4. [enjoy numerous activities outside at my property, and neither odors. dust nor ash has

alfected my outdoor activities in any way.

3. Ido not think odors. dust or ash have affected my property value.
6. I declare under penalty of perjury that the foregoing is true and correct.

Executed on:

  

f) Signed: dg he ty W209

***l understand and agree that: (1) I am signing this voluntarily and I wiNt noi suffer any
consequence if | decide not to sign it: (2) I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) | am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing. f was
informed that [ have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.#**
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 8 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of
herself and all others similarly situated,

)
)
)
Plaintiff, ) Civil Action No. 1:21-cv-10759-LTS
)
VS. )
)
WHEELABRATOR SAUGUS, INC., )
)
Defendant. )
DECLARATION

Pursuant to 28 U.S.C. § 1746 I declare and say:

1. My name is Kathy Wei Sheddnd | live at 3Y Bris fow si ,
) Mufos

approximately miles from the Wheelabrator Saugus waste-to-energy facility.
I fown # rent my home and have lived at this address for about Jo years.

2. I do not ever notice noxious odors at my home.

3. I do not ever notice unusual or unnatural amounts of dust or ash on my property.

4. I enjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. Ido not think odors, dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true and correct.

Executed on: 4)! / Lo Signed:

***T understand and agree that: (1) I am signing this voluntarily “and I will not suffer any
consequence if I decide not to sign it; (2) I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) | am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, I was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***

 
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 9 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of )
herself and all others similarly situated. }
)

Plaintiff, ) Civil Action No. 1:21-cv-10759-LTS
)
VS. )
)
WHEELABRATOR SAUGUS. INC.. )
)
Defendant. )

DECLARATION

Pursuant to 2811 SCS | 746 [ declare and say:

I. My canis tp HH (Op pe Koand Hive at u | | PRIS{O. Ww Siege

approximately miles from the Wheelabrator Saugus waste-to-énergy facility.
| oe / rent my home and have tived at this address for about 1S veins

I do not ever notice noxious odors at my home.

 

th

1 do not ever notice unusual or unnatural amounts of dust or ash on ms property.

La

4. [enjoy numerous activities outside at my property. and neither odors. dust nor ash has
affected my outdoor activities in any way.

I do not think odors. dust or ash have affected my property value.

A

   
 
  

6. 1 declare under penalty of perjury that t Rue and correct.

Executed onl U Ad LY 20 2 2-

“**1 understand and agree that: (1) 1 am signing this voluntarily and I will not suffer any
consequence if | decide not to sign it; (2) | have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that | may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action: and (4) before signing. I was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***

 
 

ty

Signed PE ee 4
hee

  
   
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 10 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of )
herself and all others similarly situated, )
)

Plaintiff, ) Civil Action No. 1:21-cv-10759-LTS
)
VS. )
)
WHEELABRATOR SAUGUS, INC., )
)
Defendant. )

DECLARATION

Pursuant to 28 U.S.C. § 1746 I declare and say:

l. Mynameis Sara Coq tinna jandilivet SIO Linen Ave, Savgvs

 

 

approximately | miles from the Wheelabrator Saugus waste-to-energy facility.
I f own ,/ rent my home and have lived at this address for about gg) years.

2. Ido not ever notice noxious odors at my home.

3. Ido not ever notice unusual or unnatural amounts of dust or ash on my property.

4. J enjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. Ido not think odors, dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true and correct.

Executed on:

 

***T understand and agree that: (1) I am signing this voluntdrily and I will not suffer any
consequence if I decide not to sign it; (2) 1 have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, I was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 11 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of
herself and all others similarly situated,
Plaintiff, Civil Action No. 1:21-cv-10759-LTS

)
)
)
)
)
VS. }
)
WHEELABRATOR SAUGUS, INC., )
)
Defendant. J
DECLARATION

Pursuant to 28 U.S.C. § 1746 1 declare and say:

1. Mynameis STE VE ANDERS Mea a MTL AN AVE

 

 

approximately | 2 0 miles from the Wheelabrator Saugus waste-to-energy facility.

   
    

/_rent__ my home and have lived at this address for about 20 years,

2. Ido not ever notice noxious odors at my home.

3. Ido not ever notice unusual or unnatural amounts of dust or ash on my property.

4, Tenjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. Ido not think odors, dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true and correct.

Executed on: hy Li | 979) sinetS tere (Aeron

***T understand and agree that: (1) I] am signing this voluntarily and I will not suffer any
consequence if I decide not to sign it; (2) I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, 1 was
informed that I have the right to contact plaintiffs counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***

 
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 12 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND., on behalf of
herself and all others similarly situated,
Plaintiff, Civil Action No. 1:21-cv-10759-LTS

)
)
)
)
)
VS. )
)
WHEELABRATOR SAUGUS, INC.. )
)
Defendant. )
DECLARATION

Pursuant to 28 U.S.C. § 1746 [ declare and say:

1. My name is ris TEA JOHN. ~ and [ live at _ 1 ML AN Ae

approximately « 5 tt, from the Wheelabrator Saugus waste-lo-energy facility.

I / rent _ my home and have lived at this address for about} + years.

2. [do not ever notice noxious odors at my home.

fad

Ido not ever notice unusual or unnatural amounts of dust or ash on my property.
4. J enjoy numerous activilies outside at my property, and neither odors, dust nor ash has

affected my outdoor activities in any wav.

Ww

I do not think odors. dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true and cprrest
- , SN
Executed on: +> l Le Signed: tr PAL L
Lf

*“"T understand and agree that: (1) I am signing this voluntaril
consequence if | decide not to sign it; (2) L have been informed that t sroposed class action
alleging that Wheelabrator has emitted noxious odors and dust and tha may be a member of the
proposed class; (3) | am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action: and (4) before Signing, I was
informed that [ have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***

 
 
    
  

  
   

1 not suffer any
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 13 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of )
herself and all others similarly situated, )
)

Plaintiff, ) Civil Action No. 1:21-cv-10759-LTS
)
Vs. }
)
WHEELABRATOR SAUGUS, INC., )
)
Defendant. )

DECLARATION

Pursuant to 28 U.S.C. § 1746 I declare and say:

I. My name is _ Left Paoliag , and I live at 4.4 44% Wickford ( Sy,

 

approximately _|- © miles fon the Wheelabrator Saugus waste-to-energy facility. pr A
I__own (vest) my home and have lived at this address for about __V\__ years.

2. I do not ever notice noxious odors at my home.

3, I do not ever notice unusual or unnatural amounts of dust or ash on my property.

4. I enjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. Ido not think odors, dust or ash have affected my property value.

 

 

 

consequence‘ f | decide not to sign it; (2) I have been informed that there is a proposed class action
allegirig that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, I was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 14 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND. on behalf of
herself and all others similarly situated.

)
)
)
Plaintiff. ) Civil Action No. 1:21-cv-10759-LTS
)
VS. )
)
WHEELABRATOR SAUGUS. INC.. )
)
Defendant. )

DECLARATION

 

Pursuant to 28 7, § 1746 [ declare and sav: ff
1. Mynameis A/C réft7 ‘and I live at HS _ Stee t/
approximately h, dmiles from the Wheelabrator Saugus waste-to-energy facility.

I_ own Li) my home and have lived at this address for about LL years.

[ do not ever notice noxious odors at my home.

Na

I do not ever notice unusual or unnatural amounts of dust or ash on my property.

Led

4. | enjoy numerous activities outside at my property. and neither odors. dust nor ash has

affected my outdoor activities in any way.

tun

I do not think odors. dust or ash have affected my property value.

6. | declare under pepalty of perjury that the foregoing is true and correct.
Lh
Executed on: Z 2 2 L Signed:

LZ.

***] understand and ‘agree that: (1) I am signing this voluntarily and I will not suffer any
consequence if | decide not to sign it: (2) { have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that [ may be a member of the
proposed class; (3) ] am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing. 1 was
informed that 1 have the right to contact plaintiffs counsel in the pending lawsuit. Liddle Sheets
Coulson P.C.***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 15 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of )
herself and all others similarly situated, )
)

Plaintiff, ) Civil Action No. 1:21-cv-10759-LTS
)
VS. )
)
WHEELABRATOR SAUGUS, INC., )
)
Defendant. )

DECLARATION

 

Pursuant to 28 U.S.C. § 1746 I declare and,say:
1. My name is Zand 1 live at VF CALL Raye!

Wc, O19

approximately V 2 miles from the Wheelabrator saugit t ue facility.
I fn ) rent__ my home and have lived at this address for about {O° years.

2. I do not ever notice noxious odors at my home.

3. I do not ever notice unusual or unnatural amounts of dust or ash on my property.

4. I enjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. I do not think odors, dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true and correct.

Executed on: June _| OD. 202) sm tase Boe, of,

***] understand and agree that: (1) I am signing this voluntarily and I will not suffer any
consequence if I decide not to sign it; (2) I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, | was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 16 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of )
herself and all others similarly situated, )
)

Plaintiff, ) Civil Action No. 1:21-cv-10759-LTS
)
VS, )
)
WHEELABRATOR SAUGUS, INC., )
)
Defendant. )

DECLARATION

Pursuant to 28 U.S.C. § 1746 I declare and say:

1. My name isf hay lec (era C6 tive at F Whites Raac! Sugus
wre,

approximately _\ miles from the Wheelabrator Saugus waste-to-energy facility.

 

I_fown //rent_ my home and have lived at this address for about ao years.

2. Ido not ever notice noxious odors at my home.

3. Ido not ever notice unusual or unnatural amounts of dust or ash on my property.

4. I enjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. Ido not think odors, dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true and correct.

Executed on: bl [9029- signed Dirr/*—6y 2 ——

***] understand and agree that: (1) I am signing this voluntarily and I will not suffer any
consequence if I decide not to sign it; (2} I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, I was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 17 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of
herself and all others similarly situated,

)
)
)
Plaintiff, } Civil Action No. 1:21-cv-10759-LTS
)
VS. }
)
WHEELABRATOR SAUGUS, INC., )
)
Defendant. )
DECLARATION
Pursuant to 28 U.S.C. § 1746 I declare and say:

Say f

1. My name is fy v4 (: las e ,and I liveat_ © Joh aw & STret sd oy J

EF 4 a wi (2
} ( /Q-epproximately so Q&miles from the Wheelabrator Saugus waste-to-energy facility.

 

 
    
 

rent my home and have lived at this address for about BO years.

ot ever notice noxious odors at my home.

3. Ido not ever notice unusual or unnatural amounts of dust or ash on my property.

4, Tenjoy numerous activities outside at my property, and neither odors, dust nor ash has

affected my outdoor activities in any way.

5. Ido not think odors, dust or ash have affected my property value.

   

6. I declare under penalty of perjury that the foregoing is true

Executed on: ‘fh | co Signed;

***] understand and agree that: (1) I am signing this voluntarily and I will not suffer any
consequence if I decide not to sign it; (2) I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, I was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 18 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of
herself and all others similarly situated,

)
)
)
Plaintiff, ) Civil Action No. 1:21-cv-10759-LTS
)
VS. J
)
WHEELABRATOR SAUGUS, INC., )
)
Defendant. )

DECLARATION

Pursuant to 28 U.S.C. § 17461 declare and say:

1. My name is Jahn Sa rothy vandLliveat §9- Lincolen AVC

sauGus, HOW
approximately ( /, miles from the Wheelabrator Saugus waste-to-energy facility.

 

 

I__own _/ rent my home and have lived at this address for about S- years.

2. I do not ever notice noxious odors at my home.

3. I do not ever notice unusual or unnatural amounts of dust or ash on my property.

4. Tenjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. Ido not think odors, dust or ash have affected my property value.

 

  
  

Executed on: | of P09D>—

***T understand and agree that: (1) I am sign foluntarily and I will not suffer any
consequence if I decide not to sign it; (2) I have beétrififormed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, I was
informed that I have the right to contact plaintiffs counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 19 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of
herself and ali others similarly situated,
Plaintiff, Civil Action No. 1:21-cv-10759-LTS

)

)

)

)

)

VS. )
)
WHEELABRATOR SAUGUS, INC., )
)

Defendant. )
DECLARATION
Pursuant to 28 U.S.C. § 1746 I declare and say:

1. My name is k lin he (Z _, and! live at / At, t/ tow, Sf .
approximately oF miles from the Wheelabrator Saugus waste-to-energy facility.
1__own /Crent> my home and have lived at this address for about _ years.

2. I do not ever notice noxious odors at my home.

3. Ido not ever notice unusual or unnatural amounts of dust or ash on my property.

4. [enjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. Ido not think odors, dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true and correct.

Executed on: 6 a G- xo Signed: Karbin Moye

***] understand and agree that: (1) I am signing this voluntarily and I will not suffer any
consequence if I decide not to sign it; (2) I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, I was
informed that | have the right to contact plaintiffs counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***

 
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 20 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of
herself and all others similarly situated,

)
)
)
Plaintiff, ) Civil Action No. 1:21-cv-10759-LTS
)
VS, }
)
WHEELABRATOR SAUGUS. INC.. )
}
Defendant. )
DECLARATION
Pursuant to 28 U.S.C. § 1746 I declare and sav:

i. My name is E| | ZO. hells Vuurthes and I live 5 Y Jehvo| SF Yawn

approximately 2 miles from the Wheelabrator Saugus waste-to-energy facility.

I wn )/_rvent__ my home and have lived at this address for about Z l __ years,

2. 1 donot ever notice noxious odors at my home.

 

3. 1 do not ever notice unusual or unnatural amounts of dust or ash on my property.

4. [enjoy numerous activities outside at my property. and neither odors, dust nor ash has
affected my outdoor activities in any way.

3. Ido not think odors. dust or ash have affected my property value.

6. 1 declare under penalty of perjury that the foregoing is true and correct

In CLA | [|
I:xecuted on: Gane \5 Signed: W24—

T Vv

***I understand and agree that: (1) I am signing this voluntarily and I will not suffer any
consequence if [ decide not to sign it; (2) { have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that | may be a member of the
proposed class; (3) | am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action: and (4) before signing, [ was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 21 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of )
herself and all others similarly situated, )
)

Plaintiff, ) Civil Action No. 1:21-cv-10759-LTS
)
vs. )
)
WHEELABRATOR SAUGUS, INC., )
)
Defendant. )

DECLARATION
Pursuant to 28 U.S.@29§ 1746 I declare and say: Ay
1. My name is , and I live at Se Che. if ;

 

 

approximately miles from the Wheelabrator Saugus waste-to-energy facility.
I_ own / rent my home and have lived at this address for about Lo years.

2. Ido not ever notice noxious odors at my home.

3. Ido not ever notice unusual or unnatural amounts of dust or ash on my property.

4. T enjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. I do not think odors, dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true

  

Executed on: Signed:

***] understand and “agree that: (1) I am signing this voluntarily and I will not suffer any
consequence if I decide not to sign it; (2) I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, I was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***
Case 1:21-cv-10759-LTS Document 43-4 Filed 02/06/23 Page 22 of 22

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

BRENDA SWEETLAND, on behalf of
herself and all others similarly situated,

Plaintiff, Civil Action No. 1:21-cv-10759-LTS

VS.

WHEELABRATOR SAUGUS, INC.,

Name” ee ome meet” Ne Ne” Nee ne ee” ne

Defendant.
DECLARATION

Pursuant to 28 U.S.C. § 1746 | declare and say:

1. Mynameis RoberT Cat neZaid lliveat tS! FaicpmeaT Ave,
Savgus, MA d1 4 0G

approximately | miles from the Wheelabrator Saugus waste-to-energy facility.

  

own // rent __ my home and have lived at this address for about | 4 years.

   
 

Ot ever notice noxious odors at my home.

3. Ido not ever notice unusual or unnatural amounts of dust or ash on my property.

4. Lenjoy numerous activities outside at my property, and neither odors, dust nor ash has
affected my outdoor activities in any way.

5. I do not think odors, dust or ash have affected my property value.

6. I declare under penalty of perjury that the foregoing is true and correct.

. \
Executed on: _ly ~_| 2-22 Signed: ABR (Din cng —~

***1 understand and agree that: (1) I am signing this voluntarily and I will not suffer any
consequence if I decide not to sign it; (2) I have been informed that there is a proposed class action
alleging that Wheelabrator has emitted noxious odors and dust and that I may be a member of the
proposed class; (3) I am providing this to Wheelabrator and its attorneys who do not represent me
and who may use it to defend against the proposed class action; and (4) before signing, I was
informed that I have the right to contact plaintiff's counsel in the pending lawsuit, Liddle Sheets
Coulson P.C.***

 
